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     2525 EA ST CAM ELBACK ROAD
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9    18-01931

10                             IN THE UNITED STATES BANKRUPTCY COURT

11                                    FOR THE DISTRICT OF ARIZONA

12

13   IN RE:                                                             No. 2:18-bk-04969-EPB

14   Michael N. Desvigne                                                        Chapter 7

15
                  Debtor.                                         MOVANT’S MOTION TO LIFT
     _________________________________________                THE AUTOMATIC BANKRUPTCY STAY
16
     Nationstar Mortgage LLC d/b/a Mr. Cooper
17
                     Movant,                                         RE: Real Property Located at
18            vs.                                                       10511 Front Beach Rd
                                                                                #402
19   Michael N. Desvigne, Debtor; Anthony H. Mason,                  Panama City Beach, FL 32407
20
     Trustee.

21                   Respondents.

22

23            Movant hereby requests an order granting relief from the automatic stay of 11 U.S.C. 362(a), to
24   permit Movant to foreclose the lien of its Mortgage on real property owned by Debtor by trustee’s sale,
25   judicial foreclosure proceedings or the exercise of the power of sale, and to obtain possession and control
26   of the real property.




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1           This motion is supported by the attached Memorandum of Points and Authorities, which is
2    incorporated herein by this reference.
3           DATED this 30th day of May, 2018.
4                                                  Respectfully submitted,
5                                                  TIFFANY & BOSCO, P.A.
6
                                                   BY /s/ LJM #014228
7
                                                          Mark S. Bosco
8                                                         Leonard J. McDonald
                                                          Attorney for Movant
9

10                          MEMORANDUM OF POINTS AND AUTHORITIES

11          Michael N. Desvigne filed a voluntary petition for protection under Chapter 7 of the Bankruptcy

12   Code. Anthony H. Mason was appointed trustee of the bankruptcy estate. Debtor has an interest in that

13   certain real property located in Bay County, FL, more particularly described as:

14          Unit Number 4-402, Long Beach Tower IV, a Condominium, all as set forth in the Declaration of
            Condominium and the exhibits annexed thereto and forming a part thereof, as recorded in the
15          Official Records Book 1924, Page 435, all of the Public Records of Bay County, Florida, and as
            may be amended from time to time. Together with all of its appurtenances according to the
16          Declaration of Condominium. Subject, however, to all of the provisions of the Declaration of
            Condominium.
17

18          Debtor executed a Note secured by a Mortgage, dated October 27, 2004, recorded in the office of

19   the Bay County Recorder’s Office. True copies of the Note and Mortgage are annexed as Exhibits "A" and

20   "B", respectively, and made a part hereof by this reference. Further, Movant is the assignee of the

21   Mortgage. The assignment of record is annexed as Exhibit “C”.

22          As of May 7, 2018, the Debtor is in default on the obligation to Movant for which the property is

23   security and payments are due under the Promissory Note from and after January 1, 2018.

24
            Movant is informed and believes and therefore alleges that the Movant and the bankruptcy estate

25
     are not adequately protected based upon the Debtor failure to make payments on a timely basis.

26




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1            As of May 7, 2018, the Debtor is indebted to Nationstar Mortgage LLC d/b/a Mr. Cooper for the
2    principal balance in the amount of $275,891.46, plus accruing interest, costs, and attorney’s fees.
3            Debtor is currently in default and contractually due for January 1, 2018. The current default
4    amount is set forth below:
5            1 Monthly Payment at $2,369.05                                      $2,369.05
             (January 1, 2018)
6            4 Monthly Payments at $2,339.28                                     $9,357.12
             (February 1, 2018 - May 1, 2018)
7
             Property Inspection Fees                                              $45.00
8            Attorneys Fees*                                                     $750.00
             NSF Fee                                                               $25.00
9            Motion for Relief Filing Fee                                        $181.00
             Total                                                             $12,727.17
10
     *To the extent Attorney’s Fees have been requested herein, the fees requested are based upon the Movant’s fee schedule
11   relating to Conv. loans. Any Attorney’s Fees requested herein have been reviewed and approved by the undersigned and are
     in compliance with the Bankruptcy Code and any applicable agreements and as required by the Court assigned to this matter.
12
             Furthermore, Movant seeks relief for the purpose of foreclosing its Mortgage against the Debtor's
13
     interest in the real property located at 10511 Front Beach Rd, #402, Panama City Beach, FL 32407.
14

15                                                       CONCLUSION

16           Movant requests that the court enter an order vacating the automatic stay of 11 U.S.C. Section

17   362(a) as to the debtor, the bankruptcy estate, the property, and Movant; to allow Movant to foreclose the

18   lien of its Deed of Trust or Mortgage; to evict Debtor and/or successors of Debtor; and to obtain

19   ownership, possession and control of the Property.

20           Movant further requests that any order for relief granted in this case remain in effect in any

21   bankruptcy chapter to which the debtor may convert.

22           DATED this 30th day of May, 2018.

23                                                       TIFFANY & BOSCO, P.A.

24                                                       BY /s/ LJM #014228
                                                                Mark S. Bosco
25                                                              Leonard J. McDonald
                                                                Seventh Floor Camelback Esplanade II
26                                                              2525 East Camelback Road
                                                                Phoenix, Arizona 85016
                                                                Attorneys for Movant



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